Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 1 of 28 Page ID #:575




  1 Kirk Pasich (SBN 94242)
    KPasich@PasichLLP.com
  2
    Kayla Robinson (SBN 322061)
  3 KRobinson@PasichLLP.com
  4 Owen Monkemeier (SBN 336476)
    OMonkemeier@PasichLLP.com
  5 PASICH LLP
  6 10880 Wilshire Blvd., Suite 2000
    Los Angeles, California 90024
  7
    Telephone: (424) 313-7860
  8 Facsimile: (424) 313-7890
  9
      Attorneys for Defendant
 10
 11                           UNITED STATES DISTRICT COURT
 12                          CENTRAL DISTRICT OF CALIFORNIA
 13
 14 NEW YORK MARINE AND                       Case No. 2:22-cv-4685-GW (PDx)
 15 GENERAL INSURANCE
    COMPANY, a New York                       Hon. George H. Wu, Courtroom 9D
 16 corporation,
                                              DEFENDANT AMBER HEARD’S
 17                                           FIRST AMENDED AND
               Plaintiff,
 18                                           SUPPLEMENTAL ANSWER TO
         v.                                   NEW YORK MARINE AND
 19
                                              GENERAL INSURANCE
 20 AMBER HEARD,                              COMPANY’S FIRST AMENDED
 21                                           COMPLAINT AND
                          Defendant.
                                              COUNTERCLAIM
 22
                                              JURY TRIAL DEMANDED
 23
 24
 25                                           Complaint Filed July 8, 2022
                                              FAC Filed July 11, 2022
 26
 27
 28

                   FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
      H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 2 of 28 Page ID #:576




  1              Defendant Amber Heard hereby answers the First Amended
  2 Complaint of plaintiff New York Marine and General Insurance
  3 Company as follows:
  4                               JURISDICTION AND VENUE
  5              1.       Answering paragraph 1, Ms. Heard admits that she was a
  6 citizen of California at the time this action was filed and otherwise
  7 admits the allegations in this paragraph.
  8              2.       Answering paragraph 2, Ms. Heard admits that New York
  9 Marine purports to seek a judicial determination as alleged in this
 10 paragraph.
 11              3.       Answering paragraph 3, Ms. Heard admits that New York
 12 Marine asserts that its claims are authorized by 28 U.S.C. § 2201.
 13 Except as expressly admitted, Ms. Heard states that this paragraph
 14 contains only legal conclusions to which no response is required.
 15              4.       Answering paragraph 4, Ms. Heard does not dispute that
 16 venue may be proper in the Central District of California and that she
 17 had resided in California at the time this action was filed and had not
 18 yet permanently changed her place of residency to a new location. Except
 19 as expressly admitted, Ms. Heard denies the allegations in this
 20 paragraph.
 21              5.       Answering paragraph 5, Ms. Heard admits that New York
 22 Marine Policy number GL201800012500 (the “Policy”) was delivered in
 23 this District with a mailing address in this District and that the “Named
 24 Insured” listed in the Policy is “Under the Black Sky, Inc. As Per Named
 25 Insured Extension Schedule.” Except as expressly admitted, Ms. Heard
 26 denies the allegations in this paragraph.
 27
 28
                                                 2
                   FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
      H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 3 of 28 Page ID #:577




  1                                       THE PARTIES
  2              6.       Answering paragraph 6, Ms. Heard lacks sufficient
  3 information to admit or deny the allegations of this paragraph and
  4 therefore denies them.
  5              7.       Answering paragraph 7, Ms. Heard admits that she is a
  6 natural person and was domiciled in California at the time of filing.
  7 Except as expressly admitted, Ms. Heard denies the allegations in this
  8 paragraph.
  9                                 FACTUAL ALLEGATIONS
 10                                    The Insurance Policy
 11              8.       Answering paragraph 8, Ms. Heard admits that New York
 12 Marine issued the Policy, the “Named Insured” is “Under the Black Sky,
 13 Inc. As Per Named Insured Extension Schedule,” which Schedule
 14 includes Ms. Heard as a “Named Insured,” the Policy has a policy period
 15 of July 18, 2018, to July 18, 2019, and the Policy lists an “Each
 16 Occurrence Limit $1,000,000,” a “Personal & Advertising Limit
 17 $1,000,000 Any one person or organization,” and a “Personal Liability”
 18 limit of “$1,000,000 Each Occurrence.” Ms. Heard further admits that
 19 Exhibit A to the FAC appears to be a true and correct copy of at least a
 20 substantial part, if not all, of the Policy, with certain information
 21 redacted. Except as expressly admitted, Ms. Heard denies the allegations
 22 in this paragraph.
 23              9.       Answering paragraph 9, Ms. Heard admits that the Policy
 24 contains a coverage part entitled “Comprehensive Personal Liability
 25 Coverage” and that this coverage part includes the quoted language.
 26 Except as expressly admitted, Ms. Heard denies the allegations in this
 27 paragraph.
 28
                                                 3
                   FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
      H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 4 of 28 Page ID #:578




  1              10.      Answering paragraph 10, Ms. Heard admits that the
  2 definition of “Personal Injury” in the Policy’s “Comprehensive Personal
  3 Liability Coverage” contains the quoted language. Except as expressly
  4 admitted, Ms. Heard denies the allegations in this paragraph.
  5                                  The Underlying Lawsuit
  6              11.      Answering paragraph 11, Ms. Heard admits the allegations in
  7 this paragraph.
  8              12.      Answering paragraph 12, Ms. Heard admits the allegations in
  9 this paragraph.
 10              13.      Answering paragraph 13, Ms. Heard admits the allegations in
 11 this paragraph.
 12              14.      Answering paragraph 14, Ms. Heard admits that by letter
 13 dated October 1, 2019, New York Marine purported to accept her defense
 14 of Depp v. Heard (“the Depp lawsuit”) and reserve certain rights and that
 15 this letter contains the quoted language. Except as expressly admitted,
 16 Ms. Heard denies the allegations in this paragraph.
 17              15.      Answering paragraph 15, Ms. Heard admits the allegations in
 18 this paragraph.
 19              16.      Answering paragraph 16, Ms. Heard admits that on or about
 20 November 2, 2020, Cameron McEvoy withdrew as one of the counsel
 21 representing Ms. Heard in the Depp lawsuit. Except as expressly
 22 admitted, Ms. Heard denies the allegations in this paragraph.
 23              17.      Answering paragraph 17, Ms. Heard admits the allegations in
 24 this paragraph.
 25              18.      Answering paragraph 18, Ms. Heard admits the allegations in
 26 this paragraph.
 27              19.      Answering paragraph 19, Ms. Heard admits that the Jury
 28 Instructions are the best evidence of their contents and that the Jury
                                         4
                   FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
      H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 5 of 28 Page ID #:579




  1 Instructions include the quoted language. Except as expressly admitted,
  2 Ms. Heard denies the allegations in this paragraph.
  3              20.      Answering paragraph 20, Ms. Heard admits that the Jury
  4 Instructions are the best evidence of their contents and that the Jury
  5 Instructions include the quoted language. Except as expressly admitted,
  6 Ms. Heard denies the allegations in this paragraph.
  7              21.      Answering paragraph 21, Ms. Heard admits that the “Finding
  8 Instruction” in the Depp lawsuit is the best evidence of its contents and
  9 that the Finding Instruction includes the quoted language. Except as
 10 expressly admitted, Ms. Heard denies the allegations in this paragraph.
 11              22.      Answering paragraph 22, Ms. Heard admits that the court in
 12 the Depp lawsuit issued additional “Finding Instructions” and that these
 13 “Finding Instructions” are the best evidence of their contents. Except as
 14 expressly admitted, Ms. Heard denies the allegations in this paragraph.
 15              23.      Answering paragraph 23, Ms. Heard admits the allegations in
 16 this paragraph.
 17              24.      Answering paragraph 24, Ms. Heard admits that the Special
 18 Verdict Form in the Depp lawsuit is the best evidence of its contents and
 19 that the jury answered “yes” to questions 1(a), 2(a), and 3(a) in the
 20 Special Verdict Form. Except as expressly admitted, Ms. Heard denies
 21 the allegations in this paragraph.
 22              25.      Answering paragraph 25, Ms. Heard admits that the Special
 23 Verdict Form in the Depp lawsuit is the best evidence of its contents and
 24 that the jury answered “yes” to questions 1(b), 2(b), and 3(b) in the
 25 Special Verdict Form. Except as expressly admitted, Ms. Heard denies
 26 the allegations in this paragraph..
 27              26.      Answering paragraph 26, Ms. Heard admits the allegations in
 28 this paragraph.
                                                 5
                   FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
      H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 6 of 28 Page ID #:580




  1                                 FIRST CAUSE OF ACTION
  2        (Declaratory Relief as to Plaintiff’s Duty to Indemnify Heard
  3                        for the Judgment Order Under the Policy)
  4              27.      Answering paragraph 27, Ms. Heard incorporates by
  5 reference her answers to paragraphs 1 through 26 above.
  6              28.      Answering paragraph 28, Ms. Heard admits that California
  7 Insurance Code section 533 contains the quoted language and that the
  8 remainder of this paragraph contains only legal contentions to which no
  9 response is required.
 10              29.      Answering paragraph 29, Ms. Heard denies the allegations in
 11 this paragraph.
 12              30.      Answering paragraph 30, Ms. Heard admits that there is a
 13 dispute between New York Marine and her regarding New York Marine’s
 14 duties under the Policy, the implied covenant of good faith and fair
 15 dealing, and the law, that New York Marine contends that it has no duty
 16 to indemnify her as to the June 24, 2022, Judgment Order, and that she
 17 disputes New York Marine’s contentions, contending that New York
 18 Marine is obligated to perform all its duties in connection with the Depp
 19 lawsuit. Except as expressly admitted, Ms. Heard denies the allegations
 20 in this paragraph.
 21              31.      Answering paragraph 31, Ms. Heard denies that there is an
 22 actual and present controversy regarding New York Marine’s duty to
 23 indemnify Ms. Heard for any judgment, settlement, or other award
 24 against her in the Depp lawsuit because Ms. Heard is not seeking
 25 indemnity from New York Marine for any amount that theoretically
 26 might have been paid pursuant to any judgment in the Depp Lawsuit
 27 because the Depp lawsuit has been settled with another insurer paying
 28 the settlement amount. Ms. Heard admits that New York Marine
                                      6
                   FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
      H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 7 of 28 Page ID #:581




  1 requests a judicial declaration as stated in this paragraph and that New
  2 York Marine contends that it has no obligation to indemnify Ms. Heard
  3 for the Judgment Order. Except as expressly admitted, Ms. Heard denies
  4 the allegations in this paragraph.
  5                               SECOND CAUSE OF ACTION
  6        (Declaratory Relief as to Plaintiff’s Duty to Indemnify Heard
  7                       for Any Judgment in the Underlying Action)
  8              32.      Answering paragraph 32, Ms. Heard incorporates by
  9 reference her answers to paragraphs 1 through 31.
 10              33.      Answering paragraph 33, Ms. Heard admits that California
 11 Insurance Code section 533 contains the quoted language and that the
 12 remainder of this paragraph contains only legal contentions to which no
 13 response is required.
 14              34.      Answering paragraph 34, Ms. Heard denies the allegations in
 15 this paragraph.
 16              35.      Answering paragraph 35, Ms. Heard admits that there is a
 17 dispute between New York Marine and her regarding New York Marine’s
 18 duties under the Policy, the implied covenant of good faith and fair
 19 dealing, and the law, that New York Marine contends that it has no duty
 20 to indemnify her for the Depp lawsuit, and that she disputes New York
 21 Marine’s contentions, contending that New York Marine is obligated to
 22 perform all its duties under the Policy. Except as expressly admitted, Ms.
 23 Heard denies the allegations in this paragraph.
 24              36.      Answering paragraph 36, Ms. Heard denies that there is an
 25 actual and present controversy regarding New York Marine’s duty to
 26 indemnify Ms. Heard for any judgment, settlement, or other award
 27 against her in the Depp lawsuit because the Depp lawsuit has been
 28 settled with another insurer paying the settlement amount. Therefore,
                                        7
                   FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
      H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 8 of 28 Page ID #:582




  1 Ms. Heard is not seeking indemnity from New York Marine as to that
  2 settlement amount. Ms. Heard admits that New York Marine requests a
  3 judicial declaration as stated in this paragraph and that New York
  4 Marine contends that it has no obligation to indemnify Ms. Heard for any
  5 liability regarding the Depp lawsuit. Except as expressly admitted, Ms.
  6 Heard denies the allegations in this paragraph.
  7                                THIRD CAUSE OF ACTION
  8    (Declaratory Relief as to Plaintiff’s Duty to Defend Heard in the
  9      Underlying Action The [sic] Policy [California Insurance Code
 10                                            § 533])
 11              37.      Answering paragraph 37, Ms. Heard incorporates by
 12 reference her answers to paragraphs 1 through 36.
 13              38.      Answering paragraph 38, Ms. Heard denies the allegations in
 14 this paragraph.
 15              39.      Answering paragraph 39, Ms. Heard admits that there is an
 16 actual controversy between New York Marine and her regarding New
 17 York Marine’s duties under the Policy, the implied covenant of good faith
 18 and fair dealing, and the law, that New York Marine contends that it has
 19 no duty to defend her in the Depp lawsuit based on California Insurance
 20 Code section 533, and that she disputes New York Marine’s contentions,
 21 contending that New York Marine is obligated to perform all its duties
 22 and that New York Marine had a duty to fully defend her in the Depp
 23 lawsuit through its final resolution.
 24              40.      Answering paragraph 40, Ms. Heard admits that there is an
 25 actual and present controversy as described in her answer to paragraph
 26 39 above and that New York Marine seeks a judicial declaration as it
 27 states in this paragraph. Ms. Heard denies that there is an actual and
 28 present controversy regarding New York Marine’s duty to defend “on an
                                      8
                   FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
      H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 9 of 28 Page ID #:583




  1 ongoing basis” for the Depp lawsuit because the Depp lawsuit is no
  2 longer pending, having been resolved by a settlement.
  3                               FOURTH CAUSE OF ACTION
  4               (Declaratory Relief as to Plaintiff’s Duty to Defend and
  5         Indemnify Heard in the Underlying Action Under the Policy
  6                                        [Conditions])
  7              41.      Answering paragraph 41, Ms. Heard incorporates by
  8 reference her answers to paragraphs 1 through 40.
  9              42.      Answering paragraph 42, Ms. Heard admits that the Policy’s
 10 “Comprehensive Personal Liability Coverage” is the best evidence of its
 11 contents and that this coverage part includes the quoted language.
 12 Except as expressly admitted, Ms. Heard denies the allegations in this
 13 paragraph.
 14              43.      Answering paragraph 43, Ms. Heard denies the allegations in
 15 this paragraph.
 16              44.      Answering paragraph 44, Ms. Heard admits that there is an
 17 actual controversy between New York Marine and her regarding New
 18 York Marine’s duties under the Policy, the implied covenant of good faith
 19 and fair dealing, and the law regarding New York Marine’s duty to
 20 defend her in the Depp lawsuit, that New York Marine contends that it
 21 has no duty to defend and/or indemnify her in the Depp lawsuit because
 22 of Ms. Heard’s alleged failure to comply with the conditions of the Policy,
 23 and that she disputes New York Marine’s contentions, contending that
 24 New York Marine is obligated to perform all its duties and that New
 25 York Marine had a duty to fully defend her in the Depp lawsuit through
 26 its final resolution. Except as expressly admitted, Ms. Heard denies the
 27 allegations in this paragraph.
 28
                                                 9
                   FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
      H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 10 of 28 Page ID #:584




   1              45.      Answering paragraph 45, Ms. Heard admits that there is an
   2 actual and present controversy to the extent described in her answer to
   3 paragraph 44 above and that New York Marine seeks a judicial
   4 declaration as it states in this paragraph. Ms. Heard denies that there is
   5 an actual and present controversy regarding New York Marine’s duty to
   6 defend “on an ongoing basis” for the Depp lawsuit because the Depp
   7 lawsuit is no longer pending, having been resolved by a settlement.
   8                                   PRAYER FOR RELIEF
   9              46.      Answering New York Marine’s Prayer for Relief, Ms. Heard
  10 denies that New York Marine is entitled to the relief it requests or to any
  11 relief in this lawsuit and asks the Court to deny all the relief requested
  12 by New York Marine.
  13                                AFFIRMATIVE DEFENSES
  14                                 First Affirmative Defense
  15                            (Failure to State a Cause of Action)
  16              47.      New York Marine is barred from maintaining its First
  17 Amended Complaint and each cause of action therein because they fail to
  18 state facts sufficient to constitute claims against Ms. Heard.
  19                                Second Affirmative Defense
  20                                 (No Substantial Prejudice)
  21              48.      New York Marine cannot maintain its fourth cause of action
  22 because it cannot establish that it was actually and substantially
  23 prejudiced by any unexcused alleged failure of Ms. Heard to satisfy any
  24 condition in the Policy.
  25                                 Third Affirmative Defense
  26                                      (Unclean Hands)
  27              49.      New York Marine is barred from maintaining its First
  28 Amended Complaint and each cause of action therein because of its
                                    10
                    FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
       H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 11 of 28 Page ID #:585




   1 unclean hands with respect to the Policy, the events upon which its
   2 causes of action are based, and its conduct.
   3                                 Fourth Affirmative Defense
   4                                            (Waiver)
   5              50.      By its conduct, representations, and omissions, New York
   6 Marine has waived, relinquished, and/or abandoned any claim for relief
   7 against Ms. Heard respecting the matters that are the subject of the
   8 First Amended Complaint.
   9                                  Fifth Affirmative Defense
  10                                           (Estoppel)
  11              51.      By its conduct, representations and omissions, New York
  12 Marine is equitably estopped to assert any claim for relief against Ms.
  13 Heard respecting the matters that are the subject of the First Amended
  14 Complaint.
  15                                  Sixth Affirmative Defense
  16                                     (Breach of Contract)
  17              52.      New York Marine’s claims are barred, in whole or in part,
  18 because New York Marine has breached its obligations under the Policy.
  19                                Seventh Affirmative Defense
  20                                          (Bad Faith)
  21              53.      New York Marine is barred from any recovery against Ms.
  22 Heard by reason of its tortious breaches of the implied covenant of good
  23 faith and fair dealing and its bad-faith unreasonable conduct.
  24                                    PRAYER FOR RELIEF
  25              WHEREFORE, Ms. Heard prays for a judgment:
  26              1.       Declaring that New York Marine is not entitled to the relief it
  27 seeks in its First Amended Complaint or to any relief;
  28
                                                   11
                    FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
       H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 12 of 28 Page ID #:586




   1              2.       Dismissing the First Amended Complaint and all causes of
   2 action therein with prejudice;
   3              3.       Awarding Ms. Heard the attorneys’ fees that she reasonably
   4 incurred, and continues to incur, in her efforts to obtain the benefits due
   5 under the Policy that New York Marine wrongfully withheld, and is
   6 withholding, in bad faith;
   7              4.       Awarding Ms. Heard the costs of suit incurred; and
   8              5.       Granting such other relief as the Court may deem equitable,
   9 just, and/or proper.
  10 DATED: January 13, 2023                    PASICH LLP
  11
                                             By: /s/Kirk Pasich
  12                                             Kirk Pasich
  13                                            Attorneys for Amber Heard
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                  12
                    FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
       H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 13 of 28 Page ID #:587




   1                             JURY TRIAL DEMANDED
   2              Defendant Amber Heard hereby demands a trial by jury.
   3 DATED: January 13, 2023                PASICH LLP
   4
                                        By: /s/Kirk Pasich
   5                                        Kirk Pasich
   6                                        Attorneys for Amber Heard
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                             13
                    FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
       H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 14 of 28 Page ID #:588




   1                           COUNTERCLAIM BY AMBER HEARD
   2              Pursuant to Federal Rule of Civil Procedure 13, Counter-Claimant
   3 Amber Heard hereby counter-claims against plaintiff and counter-
   4 defendant New York Marine and General Insurance Company (“New
   5 York Marine”) and alleges and follows.
   6                                 NATURE OF THE ACTION
   7              1.       New York Marine sold Ms. Heard an insurance policy in
   8 which it promised to defend and indemnify Ms. Heard against, among
   9 other things, lawsuits alleging that she defamed others. When Ms. Heard
  10 was sued by Johnny Depp for defamation, she timely notified New York
  11 Marine and asked New York Marine to defend her. While New York
  12 Marine promised to do so, it did not provide the full and capable defense
  13 to which Ms. Heard was entitled, it failed to pay the attorneys’ fees and
  14 costs that it was obligated to pay for Ms. Heard’s defense, and it acted in
  15 other ways that prejudiced Ms. Heard and her defense.
  16              2.       In acting in this manner and as described in greater detail
  17 below, New York Marine breached its contractual duties, tortiously
  18 violated the insurance policy’s implied covenant of good faith and fair
  19 dealing, and repudiated the duties that it owed to Ms. Heard while she
  20 pursued her appeal in the lawsuit brought by Mr. Depp. New York
  21 Marine’s conduct and its coverage positions are contrary to the terms of
  22 its insurance policy, the law, the facts, and insurance industry custom
  23 and practice. Ms. Heard is entitled to recover damages to compensate her
  24 for the injuries that New York Marine has inflicted and punitive
  25 damages because of New York Marine’s tortious bad faith.
  26                                JURISDICTION AND VENUE
  27              3.       This Court has jurisdiction over this Counterclaim pursuant
  28 to 28 U.S.C. § 1367 because each claim is so related to claims within the

                    FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
       H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 15 of 28 Page ID #:589




   1 Court’s original jurisdiction that they form part of the same case or
   2 controversy.
   3              4.       Venue is proper in this District pursuant to 28 U.S.C.
   4 § 1391(b)(2) because a substantial part of the events or omissions giving
   5 rise to the claim occurred in this District, including delivery of the policy
   6 at issue.
   7                                           PARTIES
   8              5.       Ms. Heard is an actor. She has appeared in such films as
   9 Aquaman and Justice League.
  10              6.       Ms. Heard is informed and believes, and on that basis alleges,
  11 that New York Marine is a corporation organized and incorporated under
  12 the laws of the State of New York with its principal place of business in
  13 New York.
  14              7.       Ms. Heard is informed and believes, and on that basis alleges,
  15 that New York Marine is a sophisticated national insurance company
  16 that holds itself out as offering excellent customer service and an
  17 experienced claims-handling team.
  18              8.       Ms. Heard is informed and believes, and on that basis alleges,
  19 that at the time New York Marine sold the Policy, New York Marine was
  20 part of the ProSight Specialty Insurance Group (“ProSight”) and that
  21 ProSight advertised and made public statements, including on its
  22 website, on behalf of New York Marine and its other member companies,
  23 including New York Marine.
  24              9.       Ms. Heard is informed and believes, and on that basis alleges,
  25 that ProSight used its website to market its insurance products;
  26 represent the nature of its insurance products, its policy underwriting,
  27 and its claims handling; and represented the quality of insurance and
  28 service customers of its group members will receive if they do business
                                        2
                    FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
       H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 16 of 28 Page ID #:590




   1 with a ProSight company. Ms. Heard is informed and believes, and on
   2 that basis alleges, that New York Marine authorized the statements and
   3 representations that ProSight made on its website and that those
   4 statements and representations are made on behalf of New York Marine.
   5 Ms. Heard is informed and believes, and on that basis alleges, that when
   6 ProSight said things through its websites, advertising, and statements, it
   7 was speaking on behalf of, and is authorized to speak on behalf of, New
   8 York Marine.
   9              10.      Among other things, ProSight stated that it offered
  10 “[e]xcellent insurance coverage ready to protect you,” and “unrivaled
  11 value for a wide range of insurance coverages, services, and solutions
  12 that are smart, safe and sure.”1 ProSight represented, “We create
  13 unrivaled value for our customers by exceeding expectations in
  14 everything we do. We accomplish this based on our unique performance
  15 culture and a desire to succeed at uncommon challenges.”2
  16              11.      Prosight further stated, “The claims process should be more
  17 than a just a transaction. For us, our steadfast team works relentlessly
  18 on each claim to provide you our gold standard of attentive and efficient
  19 advantages. The team engages customers with an innovative plan of
  20 action from gathering facts and data to investigation and reporting. They
  21 are meticulous about servicing you throughout the entire process,
  22 achieving the best possible outcome.”3 In describing its claim-handling
  23 process, ProSight stated, “Tell us what happened, and we'll begin
  24
  25   1https://web.archive.org/web/20170703003245/https://www.prosightspecialty.com/the-

  26 prosight-difference-contact-prosight/
       2   https://web.archive.org/web/20180116194202/https://www.prosightspecialty.com/
  27
       3   https://web.archive.org/web/20190218065832/https://www.prosightspecialty.com/
  28 claims-expertise/
                                                   3
                    FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
       H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 17 of 28 Page ID #:591




   1 immediately to deliver the excellent service that is the hallmark of
   2 ProSight. We'll focus first on assuring your well-being. Then we'll tend to
   3 every detail of your claim with care.”4
   4              12.      Ms. Heard also is informed and believes, and on that basis
   5 alleges, that New York Marine is now part of the Coaction Specialty
   6 Insurance Group (“Coaction”) and that Coaction advertises and makes
   7 public statements, including on its website, on behalf of New York
   8 Marine and its other member companies, including New York Marine.5
   9              13.      Ms. Heard is informed and believes, and on that basis alleges,
  10 that Coaction uses its website to represent the nature of its insurance
  11 products and its claims handling and represents the quality of insurance
  12 and service customers of its group members will receive if they do
  13 business with a Coaction company. Ms. Heard is informed and believes,
  14 and on that basis alleges, that New York Marine authorized the
  15 statements and representations that Coaction has made on its website
  16 and that those statements and representations are made on behalf of
  17 New York Marine. Ms. Heard is informed and believes, and on that basis
  18 alleges, that when Coaction say things through its websites, advertising,
  19 and statements, it is speaking on behalf of, and is authorized to speak on
  20 behalf of, New York Marine.
  21              14.      Coaction represents to the public and to its customers its
  22 “Coaction Values,” which it says are its “intrinsic beliefs and are
  23 important in and of themselves.”6 Among other things, Coaction states as
  24 follows on its website:
  25
  26
       4https://web.archive.org/web/20170702205831/https://www.prosightspecialty.com/
       how-we-handle-claims/
  27   5   The Coaction website is: https://www.coactionspecialty.com/get-to-know-us/.
  28   6   Id.
                                                      4
                    FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
       H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 18 of 28 Page ID #:592




   1                       •    “Customer focused – We serve the customer –
   2                            whether they be the broker, policyholder, or another
   3                            internal or external customer – it is fundamental to
   4                            everything we do and is a core focus of our decision-
   5                            making.”7
   6                       •    “Integrity and respect – We consistently display
   7                            honesty and consideration for the feelings, wishes, right
   8                            and traditions of others across our undertakings – even
   9                            and especially when no one is watching.”8
  10                       •    “Accountability – We accept responsibility for our own
  11                            actions and are willing to be judged based on
  12                            performance – it requires a willingness to be
  13                            transparent.”9
  14              15.      Coaction also represents to the public and to its customers
  15 that it has special expertise in providing insurance to companies and
  16 individuals in the entertainment industry. Among other things, Coaction
  17 states as follows on its website:
  18                       •    “We are EXPERTS. . . . Coaction is more than an
  19                            insurance company. We’re a specialty company.”10
  20                       •    “Coaction has been writing Entertainment business for
  21                            over a decade with a team of experts located in Southern
  22                            California, New York, and New Jersey who have
  23
  24
  25
       7   Id.
  26   8   Id.
  27   9   Id.
  28   10   https://www.coactionspecialty.com/
                                                    5
                    FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
       H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 19 of 28 Page ID #:593




   1                            dedicated their entire careers (over 300 years of
   2                            collective experience) to these customers.”11
   3                       •    “Target Customers . . . Artists and Entertainers.”12
   4              16.      Coaction also states in its “Entertainment Fact Sheet Final”:
   5                       •    “At Coaction, we strive to provide an exceptional claims
   6                            handling experience to our clients. Our average claim
   7                            adjuster has over 15 years of experience and are
   8                            strategically aligned with our underwriting vertical to
   9                            provide our insured and claimants a specialized claims
  10                            encounter,” including “Expert claims team known for its
  11                            quality, commitment and integrity.”13
  12                       •    “Policies are underwritten by the insurers of Coaction
  13                            Specialty Insurance Group, which includes New York
  14                            Marine and General Insurance Company . . . .”14
  15                       •    Coaction has “$1.1B Estimated 2022 Premium” and
  16                            “$3.2B Total Assets.”15
  17                                           THE POLICY
  18              17.      New York Marine sold insurance policy number
  19 GL201800012500 to Ms. Heard for the July 18, 2018, to July 18, 2019,
  20 policy period (the “Policy”). The “Named Insured” is “Under the Black
  21 Sky, Inc. As Per Named Insured Extension Schedule,” which Schedule
  22 includes Ms. Heard as a “Named Insured.”
  23
  24
       11   https://www.coactionspecialty.com/entertainment/.
  25
       12   Id.
  26   13   Id.
  27   14   Id.
  28   15   Id.
                                                        6
                    FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
       H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 20 of 28 Page ID #:594




   1              18.      The Policy contains multiple coverage parts, each of which
   2 provides several separate coverages to Ms. Heard. The Commercial
   3 Liability General Liability Coverage Form provides $1,000,000 in
   4 coverage “Any one person” for Personal and Advertising Injury. The
   5 Comprehensive Personal Liability Coverage separately provides
   6 $1,000,000 in coverage “each occurrence” for Personal Liability.
   7              19.      The Policy’s Commercial General Liability Coverage Form’s
   8 “Coverage B personal and Advertising Liability” obligated New York
   9 Marine to “pay those sums that [Ms. Heard] becomes legally to pay as
  10 damages because of ‘personal and advertising injury’ . . . .” Commercial
  11 General Liability Coverage Form, Coverage B, ¶ 1.a. It also obligated
  12 New York Marine “to defend [Ms. Heard] against any ‘suit’ seeking
  13 damages for ‘personal and advertising injury’ . . . .” Id. The Policy defines
  14 “personal and advertising injury” to mean “injury, including
  15 consequential ‘bodily injury,’ arising out of one of more of the following
  16 offenses: . . . Oral or written publication, in any manner, of material that
  17 slanders or libels a person . . . .” Id., Commercial General Liability
  18 Coverage Form § V.14.
  19              20.      The Policy’s Comprehensive Personal Liability Coverage
  20 obligated New York Marine to “pay up to [its] limit of liability for the
  21 damages for which [Ms. Heard] is legally liable” “[i]f a claim or a suit is
  22 brought against [Ms. Heard} because of . . . ‘personal injury” caused by
  23 an ‘occurrence’ . . . .” Id., Comprehensive Personal Liability Coverage,
  24 Coverage L. The Comprehensive Personal Liability Coverage also
  25 obligated New York Marine to “provide a defense at [its] expense by
  26 counsel of [its] choice, even if the suit is groundless, false or fraudulent.”
  27 Id. “Personal injury” is defined to include “injury . . . arising out of one
  28 or more of the following offenses: . . . oral or written publication of
                                            7
                    FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
       H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 21 of 28 Page ID #:595




   1 material that slanders or libels a person or organization including other
   2 forms of defamation; or . . . oral or written publication of material
   3 including other forms of defamation that violates a person’s right of
   4 privacy.”
   5              21.      To the extent not waived or otherwise excused, Ms. Heard has
   6 complied with all terms and conditions contained in the Policy.
   7 Therefore, Ms. Heard is entitled to all benefits of the Policy.
   8                                    THE DEPP LAWSUIT
   9              22.      In March 2019, Ms. Heard’s ex-husband, Johnny Depp, filed a
  10 lawsuit against Ms. Heard in Virginia state court (the “Depp lawsuit”).
  11 Mr. Depp alleged in his lawsuit that Ms. Heard defamed him in a
  12 December 2018 Washington Post Op-Ed.
  13              23.      In June 2022, the jury in the Depp lawsuit returned a verdict
  14 against Ms. Heard for three counts of defamation. Ms. Heard appealed
  15 the judgment to the Virginia Court of Appeals. In December 2022, the
  16 parties finally resolved the Depp lawsuit pursuant to a confidential
  17 agreement.
  18    NEW YORK MARINE’S BREACHES AND BAD-FAITH CONDUCT
  19              24.      Ms. Heard timely notified New York Marine of the Depp
  20 lawsuit. New York Marine initially agreed to defend Ms. Heard subject
  21 to a reservation of rights. Unfortunately for Ms. Heard, New York
  22 Marine’s performance never lived up to its promises. Indeed, New York
  23 Marine never fully paid for Ms. Heard’s defense, leaving Ms. Heard to
  24 incur hundreds of thousands of dollars in defense costs not paid by any
  25 insurer, withdrew from Ms. Heard’s defense, expressly repudiated its
  26 duties to defend Ms. Heard, and has consistently placed its interests
  27 above those of Ms. Heard.
  28
                                                   8
                    FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
       H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 22 of 28 Page ID #:596




   1              25.      Specifically, in October 2019, New York Marine reserved
   2 rights to deny coverage on the ground that Ms. Heard behaved
   3 intentionally, thus creating a conflict of interest with Ms. Heard and
   4 giving Ms. Heard the right to independent counsel, with New York
   5 Marine being obligated to pay for the fees and costs of this independent
   6 counsel. Nonetheless, New York Marine refused to agree to defend Ms.
   7 Heard through independent counsel and instead appointed its own
   8 counsel. Despite requests from Ms. Heard to reconsider, New York
   9 Marine persisted in its position, making it impossible for Ms. Heard to
  10 fully accept this “defense” provided by New York Marine without
  11 prejudicing her defense in the Depp lawsuit. New York Marine’s
  12 appointed counsel ultimately withdrew on November 20, 2020.
  13              26.      Ms. Heard is informed and believes, and on that basis alleges,
  14 that New York Marine thereafter agreed to participate in the defense of
  15 Ms. Heard by reimbursing Ms. Heard’s defending insurer, Travelers
  16 Commercial Insurance Company, for some of the amounts it had paid,
  17 and was paying towards Ms. Heard’s defense in the Depp lawsuit but has
  18 never done so. Thus, at no point has New York Marine fully honored its
  19 duty to defend Ms. Heard in the Depp lawsuit.
  20              27.      Once judgment was entered in the Depp lawsuit in accord
  21 with the jury’s verdict, New York Marine took the position that it need
  22 not defend Ms. Heard, even though that judgment was not final. Ms.
  23 Heard is informed and believes, and on that basis alleges, that New York
  24 Marine took this position to benefit its own economic interests at the
  25 expense of Ms. Heard’s interests and even though it knew, or should
  26 have known, that the bases for its position are contrary to the law and
  27 did not excuse New York Marine from its duty to defend Ms. Heard,
  28
                                                    9
                    FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
       H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 23 of 28 Page ID #:597




   1 including its duty to pursue and fund an appeal on her behalf in the
   2 Depp lawsuit.
   3              28.      By refusing to provide the defense to which Ms. Heard was
   4 entitled in the Depp lawsuit and by wrongfully asserting that Ms. Heard
   5 was not entitled to indemnity for any amount that Ms. Heard might be
   6 legally obligated to pay in any judgment in or settlement of the Depp
   7 lawsuit, New York Marine wrongfully repudiated and refused to perform
   8 its duties to Ms. Heard. In so acting, New York Marine deprived Ms.
   9 Heard from receiving the full benefits that she was promised and to
  10 which she is entitled under the Policy.
  11                                       FIRST COUNT
  12                                    (Breach of Contract)
  13              29.      Ms. Heard realleges and incorporates by reference
  14 paragraphs 1 through 28 above.
  15              30.      New York Marine had a duty under the Policy, the law, and
  16 insurance industry custom and practice to fully defend Ms. Heard
  17 against the Depp lawsuit. New York Marine’s duty arose at least at the
  18 time it received notice of the Depp lawsuit and continued until the Depp
  19 lawsuit was finally resolved.
  20              31.      New York Marine also had and has a duty under the Policy,
  21 the law, and insurance industry custom and practice to promptly conduct
  22 a full and thorough investigation, including as to all bases that might
  23 support Ms. Heard’s claims for coverage. New York Marine also had and
  24 has a duty to give at least as much consideration to Ms. Heard’s interests
  25 as it gives to its own interests.
  26              32.      New York Marine breached its duties by, among other things,
  27                       a.   refusing to fully and properly defend Ms. Heard in the
  28                            Depp lawsuit;
                                                  10
                    FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
       H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 24 of 28 Page ID #:598




   1                       b.      repudiating its duty to indemnify Ms. Heard for any
   2                               amounts that Ms. Heard might have been legally
   3                               obligated to pay in judgment in, or settlement of, the
   4                               Depp lawsuit;
   5                       c.      otherwise refusing to perform its duties under the
   6                               Policy; and
   7                       d.      acting as alleged above.
   8              33.      As a direct and proximate result of New York Marine’s
   9 contractual breaches, Ms. Heard has sustained and continues to sustain
  10 damages in an amount to be proven at trial and currently exceeding
  11 $75,000.
  12                                         SECOND COUNT
  13                            (Tortious Breach of the Implied Covenant
  14                                 of Good Faith and Fair Dealing)
  15              34.      Ms. Heard realleges and incorporates by reference
  16 paragraphs 1 through 28 and 30 through 32 above.
  17              35.      Implied in the Policy is a covenant that New York Marine
  18 would act in good faith and deal fairly with Ms. Heard, would do nothing
  19 to interfere with Ms. Heard’s right to receive benefits due under the
  20 Policy, and would give at least the same level of consideration to Ms.
  21 Heard’s interests as it gives to its own interests. New York Marine also
  22 had a duty under the Policy, the law, and insurance industry custom,
  23 practice, and standards to conduct a prompt and thorough investigation,
  24 including as to all bases that might support Ms. Heard’s claim for
  25 coverage, before asserting coverage defenses or denying coverage.
  26              36.      Instead of complying with these duties, New York Marine
  27 acted in bad faith by, among other things,
  28
                                                      11
                    FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
       H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 25 of 28 Page ID #:599




   1                       a.   refusing to fully and properly defend Ms. Heard in the
   2                            Depp lawsuit and then repudiating its duty to defend;
   3                       b.   refusing to indemnify Ms. Heard to its Policy limit as to
   4                            any judgment in, or settlement of, the Depp lawsuit;
   5                       c.   failing to fully inquire into possible bases that might
   6                            support coverage for the Depp lawsuit;
   7                       d.   asserting grounds for limiting coverage that it knows
   8                            are not supported by, and in fact are contrary to, the
   9                            terms of the Policy, the law, insurance industry custom
  10                            and practices, and the facts;
  11                       e.   taking coverage positions that are contrary to Ms.
  12                            Heard’s reasonable expectations of coverage;
  13                       f.   giving greater consideration to its own interests than it
  14                            gave Ms. Heard’s interests;
  15                       g.   based on information and belief, failing to have
  16                            appropriate claims handling guidelines and failing to
  17                            consider and act in accord with the governing legal
  18                            requirements; and
  19                       h.   otherwise acting as alleged above.
  20              37.      In breach of the implied covenant of good faith and fair
  21 dealing, New York Marine did the things and committed the acts alleged
  22 above for the purpose of consciously withholding from Ms. Heard the
  23 rights and benefits to which she is and was entitled under the Policy and
  24 the law.
  25              38.      New York Marine’s acts are inconsistent with the reasonable
  26 expectations of Ms. Heard, are contrary to established insurance
  27 industry custom and practice, are contrary to legal requirements, are
  28 contrary to the express terms of the Policy, and constitute bad faith.
                                         12
                    FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
       H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 26 of 28 Page ID #:600




   1              39.      As a direct and proximate result of New York Marine’s breach
   2 of the implied covenant of good faith and fair dealing, Ms. Heard has
   3 sustained and continues to sustain damages in an amount to be proven
   4 at trial. Also, pursuant to Brandt v. Superior Court, 37 Cal. 3d 813
   5 (1985), Ms. Heard is entitled to recover all attorneys’ fees that she has
   6 reasonably incurred, and continues to incur, in her efforts to obtain the
   7 benefits due under the Policy that New York Marine wrongfully has
   8 withheld, and is withholding, in bad faith. Ms. Heard is also entitled to
   9 interest at the maximum legal rate.
  10              40.      Ms. Heard is informed and believes, and on that basis alleges,
  11 that New York Marine—acting through one or more of its officers,
  12 directors, or other corporate employees with substantial independent and
  13 discretionary authority over significant aspects of New York Marine’s
  14 business—performed, authorized, and/or ratified the bad-faith conduct
  15 alleged above.
  16              41.      New York Marine’s conduct is despicable and has been done
  17 with a conscious disregard of Ms. Heard’s rights, constituting oppression,
  18 fraud, and/or malice. New York Marine has engaged in a series of acts
  19 designed to deny Ms. Heard the benefits due under the Policy.
  20 Specifically, New York Marine, by acting as alleged above, in light of
  21 information, facts, and relevant law to the contrary, consciously
  22 disregarded Ms. Heard’s rights and forced Ms. Heard to incur
  23 substantial financial losses, thereby inflicting substantial financial
  24 damage on Ms. Heard. New York Marine ignored Ms. Heard’s interests
  25 and concerns with the requisite intent to injure within the meaning of
  26 California Civil Code section 3294. Therefore, Ms. Heard is entitled to
  27 recover punitive damages from New York Marine in an amount sufficient
  28
                                                   13
                    FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
       H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 27 of 28 Page ID #:601




   1 to punish and to make an example of New York Marine and to deter
   2 similar conduct in the future.
   3                                    PRAYER FOR RELIEF
   4              WHEREFORE, Ms. Heard prays for relief as follows:
   5                                   ON THE FIRST COUNT
   6              1.       For damages according to proof at the time of trial, plus
   7 interest;
   8                                  ON THE SECOND COUNT
   9              2.       For damages according to proof at the time of trial, including
  10 reasonable attorneys’ fees incurred in obtaining the benefits due under
  11 the Policy, plus interest;
  12              3.       For punitive damages in an amount to be determined at the
  13 time of trial;
  14                                      ON BOTH COUNTS
  15              4.       For costs of suit herein; and
  16              5.       For such other, further, and/or different relief as may be
  17 deemed just and proper.
  18 DATED: January 13, 2023                      PASICH LLP
  19
                                              By: /s/Kirk Pasich
  20                                              Kirk Pasich
  21                                              Attorneys for Amber Heard
  22
  23
  24
  25
  26
  27
  28
                                                    14
                    FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
       H019.001/422685.4
Case 2:22-cv-04685-GW-PD Document 36 Filed 01/13/23 Page 28 of 28 Page ID #:602




   1                             JURY TRIAL DEMANDED
   2              Defendant and Counter-Claimant Amber Heard hereby demands a
   3 trial by jury on her counterclaims.
   4 DATED: January 13, 2023                PASICH LLP
   5
                                        By: /s/Kirk Pasich
   6                                    ‘ Kirk Pasich
   7                                        Attorneys for Amber Heard
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                             15
                    FIRST AMENDED AND SUPPLEMENTAL ANSWER AND COUNTERCLAIM
       H019.001/422685.4
